Case 1:18-cr-00609-RJD Document 327 Filed 04/29/22 Page 1 of 9 PageID #: 1647




UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK

UNITED STATES OF AMERICA,

            -against-                              18 Cr. 609 (RJD)

BUSHAWN SHELTON,

                    Defendant.




                 MEMORANDUM OF LAW IN SUPPORT OF
               MOTION TO SUPPRESS CELL PHONE RECORDS




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Case 1:18-cr-00609-RJD Document 327 Filed 04/29/22 Page 2 of 9 PageID #: 1648
Case 1:18-cr-00609-RJD Document 327 Filed 04/29/22 Page 3 of 9 PageID #: 1649
Case 1:18-cr-00609-RJD Document 327 Filed 04/29/22 Page 4 of 9 PageID #: 1650




        Mr. Shelton challenges the constitutionality of the above three warrants for cell phone

records.

                                              ARGUMENT

        I.      The      Call Detail and CSLI Warrant Relies Solely on Uncorroborated
                Information Provided by an Informant That Lacks Probable Cause

        The supporting affidavit for the         Call Detail and CSLI Warrant cites



                          In the context of police informants, to decide whether a confidential

witness or informant’s information provides probable cause to support a search warrant, a court

must consider the totality of the circumstances, including the informant’s veracity, reliability, and

basis for knowledge, as well as whether the informant’s information has been corroborated by

independent police investigation. See, e.g., Illinois v. Gates, 462 U.S. 213, 228-30 (1983); McColley v.

County of Rensselaer, 740 F.3d 817, 823 (2d Cir. 2014).

        The        Call Detail and CSLI Warrant contains no facts for the Court to determine the

reliability of the informant. As the informant is the sole source of the information purporting to tie

Mr. Shelton to the phone number, this warrant is thus invalid. See United States v. Wagner, 989 F.2d

69, 72-73 (2d Cir. 1993) (“Information may be sufficiently reliable to support a probable cause

finding if the person providing the information has a track record of providing reliable information,

or if it is corroborated in material respects by independent evidence. If a substantial amount of


                                                      3
Case 1:18-cr-00609-RJD Document 327 Filed 04/29/22 Page 5 of 9 PageID #: 1651




information from an informant is shown to be reliable because of independent corroboration, then

it is a permissible inference that the informant is reliable and that therefore other information that

he provides, though uncorroborated, is also reliable.”); United States v. Coffee, 434 F.3d 887, 893 (6th

Cir. 2006) (“While independent corroboration of a confidential informant’s story is not a sine qua

non to a finding of probable cause, . . . in the absence of any indicia of the informant[’s] reliability,

courts insist that the affidavit contain substantial independent police corroboration”) (citations

omitted).

        Further, with respect to CSLI in particular, the Supreme Court has recognized that the

collection of such information is a particularly invasive violation of an individual’s privacy requiring

sufficient probable cause and particularity. In Carpenter v. United States, 138 S. Ct. 2206 (2018), the

Supreme Court detailed how individual CSLI, which modern cell phones generate in “increasingly

vast amounts,” allows the government to create a “comprehensive record of the person’s

movements.” Id. at 2212, 2216-17. A person has a reasonable expectation of privacy “in the whole

of their physical movements,” and as such, “an individual maintains a legitimate expectation of

privacy in the record of his physical movements as captured through CSLI.” Id. As set forth above,

the         Call Detail and CSLI Warrant requested historical CSLI for a nearly nine-month period,

but was not supported by probable cause. A central aim of the framers of the Constitution and the

Fourth Amendment was “to place obstacles in the way of a too permeating police surveillance.” Id.

at 2214. Given the readiness of cell phone service providers to hand over to the government, upon

request, such “increasingly vast amounts” of information about the daily lives of individuals, the

Fourth Amendment would be eviscerated if all that was required to obtain such records was the

statement of an unreliable, unverified, uncorroborated confidential informant.

        II.       The Date Range of the         Call Detail and CSLI Warrant Is Both Overbroad
                  and Insufficiently Particular

        The         Call Detail and CSLI Warrant requests records


                                                     4
Case 1:18-cr-00609-RJD Document 327 Filed 04/29/22 Page 6 of 9 PageID #: 1652
Case 1:18-cr-00609-RJD Document 327 Filed 04/29/22 Page 7 of 9 PageID #: 1653




enforcement knew that the evidence in support of probable cause revolved only around a three-

month period in 1999; the authorization to search for evidence irrelevant to that time frame

described as “rummaging”); United States v. Cerna, No. CR 08-0730 WHA, 2010 U.S. Dist. LEXIS

145991, at *53-54 (N.D. Cal. Sept. 22, 2010) (holding the date range of the search warrant for cell

phone records was overbroad and insufficiently particular because, while the affidavit established

there was probable cause to seize cell phone records in relation to a homicide, the affidavit did not

establish probable cause to seize the records from months before the date of the homicide).

        III.    The     Prospective CSLI Warrant and the      Call Detail and CSLI
                Warrant Were Based on Information Obtained Illegally

        The supporting affidavit for the        Call Detail and CSLI Warrant relies on information

that was obtained as a result of the illegal search of                        on October 11, 2018—

specifically, that the government discovered the                    phone number, and its alleged tie to

Mr. Shelton, because it was one of the cell phones that was recovered during the search of Mr.

Shelton’s residence on October 11, 2018; the affidavit states that



                      set forth in a separate motion to suppress being filed concurrently with this

motion, the search of                          on October 11, 2018 was illegal, requiring the

suppression of all items seized during that search. See United States v. Cacace, 796 F.3d 176, 188 (2d

Cir. 2015) (“When applicable, the exclusionary rule reaches not only primary evidence obtained as a

direct result of an illegal search or seizure, but also evidence later discovered and found to be

derivative of an illegality or ‘fruit of the poisonous tree.’”) (quotations omitted).

        The supporting affidavit for the        Prospective CSLI Warrant (dated September 18, 2018)

also relies on information illegally obtained. As set forth above, the prior warrant regarding the same

phone number—the            Call Detail and CSLI Warrant (dated September 11, 2018)—is invalid.




                                                     6
Case 1:18-cr-00609-RJD Document 327 Filed 04/29/22 Page 8 of 9 PageID #: 1654




However, it is apparent that the government used the information it received from AT&T in

response to the         Call Detail and CSLI Warrant to make its determination that Mr. Shelton was

associated with the                     phone number; this formed the basis for Special Agent Zoufal to

then request prospective CSLI with the             Prospective CSLI Warrant.4 Specifically, the factual

sections of the supporting affidavits for both warrants are essentially identical, except that the

Prospective CSLI Warrant was updated to state



        The records and information received by the government in response to the

Prospective CSLI Warrant and the              Call Detail and CSLI Warrant must therefore be

suppressed.

                                               CONCLUSION

        For the reasons stated above, the cell phone records and information obtained from AT&T

and T-Mobile pursuant to invalid warrants should be suppressed. Mr. Shelton requests leave to file

any additional motions which may become necessary based on the government’s response,

disclosure of additional information, or newly discovered facts as a result of his ongoing

investigation into this case.

Dated: April 29, 2022


                                                             Respectfully submitted,


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4 According to discovery produced by the government, the government received the records requested by the    Call
Detail and CSLI Warrant—including subscriber and account information, call detail records, and CSLI—on September
13, 2018.



                                                        7
Case 1:18-cr-00609-RJD Document 327 Filed 04/29/22 Page 9 of 9 PageID #: 1655




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                                      8
